14 F.3d 594
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Roland Maceo DEANE, Jr., Petitioner-Appellant,v.WARDEN, BUCKINGHAM CORRECTIONAL CENTER, Respondent-Appellee.
    No. 93-6839.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 29, 1993.Dec. 20, 1993.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.
      Roland Maceo Deane, Jr., appellant pro se.
      Robert H. Anderson, III, Office of the Atty. General of Virginia, for appellee.
      E.D. Va.
      DISMISSED.
      Before WILKINS, NIEMEYER, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Appellant seeks to appeal the magistrate judge's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.*  Our review of the record and the magistrate judge's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the magistrate judge.  Deane v. Warden Buckingham, No. CA-92-784-R (E.D. Va.  July 23, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         The case was decided by a magistrate judge exercising jurisdiction upon consent of the parties under 28 U.S.C.A. Sec. 636(c)(1) (West 1993)
      
    
    